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October 4, 2016
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Honorable Allison J. Nathan §§ iii i`l€ l.):“tll'{.:./"‘\ 1 le Y Fl'l' FD
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United States District Couit

40 Foley Square
New Yorl<, New Yorl< 10007

  

Re: Redwood et. al v. Cassway Contracting Corp. et. al.
Civil Action No. l6~cv-3502 (AJN)

Dear Judge Nathan:

l represent Defendant JS and JR Construction Corp. in the above matter, which is in the very
beginning stage ofthe litigation. The lnitial Conference was conducted on September 9, 2016.

1 have learned from my clients that they negotiated the terms of a settlement directly with the
Plaintiffs, without the involvement of counsel. The terms of the Agreement were reduced to
writing and signed and notarized by both Plaintiffs and the two principals of JS and JR
Construction Corp. A copy ofthe “Letter of Agreement and Settlement” is enclosed herewith.

The terms of the negotiated settlement are that Defendants will pay the Plaintiffs the sum of
$15,000, and the litigation will be dismissed (with prejudice).

ln light of the early stage of the litigation, a $15,000 settlement is a fair and reasonable
settlement that will save time and attorneys fees for all parties by amicably resolving the matter
without discovery and litigation The settlement will also save precious judicial resources for
litigations that cannot be amicably resolved.

Upon learning ofthe settlement from my clients, l advised Plaintiffs’ counsel, who, like l, was
previously unaware of the settlement negotiated directly between the parties Plaintiffs’ counsel
has advised that notwithstanding that the settlement terms are set forth in a signed and notarized
document, the settlement is unenforceable

l\/ly clients are a small “two man” corporation without significant funds for legal fees for
extended litigation, nor do they have the ability to pay any substantial judgment The very
purpose of my clients negotiating a settlement with the plaintiffs directly, at an early stage of the
litigation, was to devote what funds they can afford to pay to settlement of the case, rather than

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expending legal fees for extended litigation, then being without funds for a settlement

Thus, an early resolution ofthe litigation, before substantial counsel fees are incurred by any
party, is in the best interests of all parties, and will maximize the amount recovered by plaintiffs

l have proposed that the settlement terms can be memorialized in a more formal settlement
agreement to be submitted to the Court, and that Plaintiffs’ counsel can make application to the
Court for attorneys fees, but Plaintiffs’ counsel has rejected that proposal.

l therefore respectfully request that the Court schedule a conference to address this issue

Respectfully submitted,
/s/l\/lichael K. Chong
l\/lichael K. Chong

cc: Denise Schulman,Esq
Scott R. Green, Esq.

 

The Court ORDERS that Plaintitfs' counsel submit a
written response to this letter no later than October
12, 2016.

 

 

 

   

    

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